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                         EXHIBIT G
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION
CARLO LLORCA, an individual,

                       Plaintiff,

v.                                                         Case No. 2:15-cv-00017-JES-CM

KEVIN RAMBOSK, as the duly elected
Sheriff of Collier County, Florida,

                       Defendant.

                 DEFENDANT’S REQUESTED VOIR DIRE QUESTIONS 1

         COMES NOW, the Defendant, KEVIN RAMBOSK, as the duly elected Sheriff of

Collier County, Florida, by and through his undersigned counsel, and respectfully submits the

following proposed Voir Dire questions:

         1.     Each juror’s occupation and length of time in occupation.

                a.     If retired, last employment?

         2.     Duties of each juror in employment. (If retired, last employment.)

         3.     For employed jurors, method of compensation – salaried or hourly employment?

                a.     If paid hourly, have you ever received overtime wages in your current

                       employment?

                b.     If paid hourly, does your employer have a policy regarding overtime

                       wages?

         4.     If employed, is juror required to self- report his/her time?

                a.     If yes, how does juror report time – i.e. hand written or computerized?


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  These questions are submitted in addition to the standard questions and jury questionnaire to be
administered by the Court.
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                b.     If yes, does juror have to submit his/her time card/record authorized or

                       approved by a supervisor?

                c.     If yes, is it the juror’s responsibility to affirm that his/her recorded hours

                       are accurate?

          5.    If paid hourly, has juror ever been accused of reporting inaccurate work time?

          6.    Has juror ever been fired for reporting inaccurate work time?

          7.    Where does each juror's spouse work? (If retired, last employment.)

          8.    Spouse's duties at work.

          9.    Does juror and spouse possess either a two-year or four-year college degree?

                a.     If so, what year(s) was the degree(s) obtained?

                b.     If so, what type of degree and what was the juror/spouse’s major or minor

                       subject of study?

          10.   Do any of you know the following people who may be called as witnesses or be

involved in the facts of this case: [READ THROUGH WITNESS LISTS]

                a.     If any, please describe.

          11.   Do any of you know the Plaintiff or his attorney?

          12.   Have either you or your spouse ever filed a lawsuit against another person or

entity?

                a.     Type of lawsuit.

                b.     Were you or your spouse satisfied with the outcome of the lawsuit?

          13.   Has juror or spouse ever been employed in a supervisory or management position

(which included supervising employees)?

                a.     With whom?
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               b.     When?

         14.   If juror has been employed in supervisory or management position- have you or

your spouse ever been responsible for overseeing subordinates’ schedules, time sheets, and/or

work hours?

               a.     If yes, were you responsible for approving the subordinates’ time cards?

         15.   If juror has been employed in supervisory or management position, has juror ever

terminated or disciplined an employee for falsifying time records?

               a.     If yes, when?

         16.   Have you or your spouse ever been sued?

               a.     Type of case.

         b.    Were you or your spouse satisfied with the outcome of the lawsuit?

         17.   Have you or your spouse ever been involved as a witness in a claim asserting

wage violations?

               a.     If so, when did your involvement with wage violation claim occur?

               b.     Describe your or your spouse's role?

               c.     Describe results of claim, if known.

               d.     Would such involvement, or involvement of your spouse, cause you to be

                      biased for or against the Collier County Sheriff’s Office in this litigation?

         18.   Has juror or spouse ever owned a business?

               a.     Type of business.

               b.     Duration of ownership.

               c.     Number of employees.

         19.   Have you ever heard of the term or phrase “Blue Lives Matter”?
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               a.       If yes, what does it mean to you?

               b.       Do you have an opinion about law enforcement in general?

               c.       Would this opinion impact your decision in this case for or against the

                        Sheriff’s Office?

         20.   Does your business or employer conduct business with the Collier County

Sheriff’s Office, or has your business or employer conducted business with the Collier County

Sheriff’s Office in the past?

               a.       If yes, explain.

               b.       If no longer, why not?

         21.   Have you heard anything about this case? If so, what have you heard? From

whom did you hear it?

         22.   Have any of you ever had any encounters with the Collier County Sheriff’s Office

or any of its agents, representatives or employees that might affect your decision in this case for

or against the Sheriff’s Office?

               a.       If yes, ask to explain.

         23.   Do you have any pre-conceived view of whether unlawful wage payment

violations are common?

         24.   Does juror believe that he/she, or their spouse, friend or relative have ever been

unlawfully denied wages?

         25.   Does juror believe that he/she or any relative or friend, has ever been treated

unfairly by his/her employer? If so, in what way?

         26.   Does juror or spouse perform any volunteer work in the community? If so,

where?
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         27.   Does juror or spouse make charitable contributions? If so, to what organization?

         28.   What organizations do juror or spouse belong to?

         29.   What was the title or subject matter of the last book juror enjoyed reading?

         30.   What hobbies do juror or spouse participate in regularly (i.e., sewing, hunting)?

         31.   What bumper stickers do juror or juror’s spouse currently have attached to their

vehicles?

         32.   What television shows do juror or juror’s spouse regularly watch?

         33.   What magazine or newspaper do you or your spouse currently subscribe?

         34.   With what political party, if any, is juror affiliated?

         35.   Does juror believe that employers are generally concerned about the well-being of

their employees?

         36.   Is there anything else we should know about you which could affect your ability

to be a fair and impartial juror?

Dated this 22nd day of July, 2016.                      Respectfully submitted,

                                                        /s/ David J. Stefany
                                                        DAVID J. STEFANY
                                                        Florida Bar No. 438995
                                                        NICOLETTE L. BIDARIAN
                                                        Florida Bar No. 83795
                                                        Counsel for Defendant
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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 22nd day of July, 2016, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice of

electronic filing to Benjamin H. Yormak, Esquire, Yormak Employment & Disability Law, 9990

Coconut Road, Suite 206, Bonita Springs, FL 34135 [byormak@yormaklaw.com].


                                                     /s/ David J. Stefany
                                                     ATTORNEY




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